ILND 450 (Rev. Case:    1:16-cv-06812
               10/13) Judgment in a Civil Action Document   #: 75 Filed: 02/27/18 Page 1 of 1 PageID #:1571

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

Barry Dayton,

Plaintiff(s),
                                                                   Case No. 16 C 6812
v.                                                                 Judge Matthew F. Kennelly

Oakton Community College, et al.,

Defendant(s).

                                               JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                  in favor of plaintiff(s)
                  and against defendant(s)
                  in the amount of $       ,

                           which        includes       pre–judgment interest.
                                        does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                  in favor of defendant(s)
                  and against plaintiff(s)
.
         Defendant(s) shall recover costs from plaintiff(s).


                  other: Judgment entered in favor of defendants.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Matthew F. Kennelly on a motion



Date: 2/27/2018                                                 Thomas G. Bruton, Clerk of Court

                                                                Pamela J. Geringer, Deputy Clerk
